
990 So.2d 593 (2008)
Froylan ROSA, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D08-1139.
District Court of Appeal of Florida, Third District.
August 13, 2008.
*594 Froylan Rosa, in proper person.
Bill McCollum, Attorney General, for appellee.
Before RAMIREZ, SUAREZ, and CORTIÑAS, JJ.
PER CURIAM.
Affirmed. See Harris v. State, 810 So.2d 1093, 1094 (Fla. 5th DCA 2002) (holding that "[s]coresheet errors are harmless when the sentence is the result of a negotiated plea agreement.").
